Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 1 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 2 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 3 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 4 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 5 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 6 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 7 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 8 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 9 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 10 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 11 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 12 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 13 of 15
Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 14 of 15
        Case 2:19-cv-01130-RSL Document 96 Filed 03/04/21 Page 15 of 15
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 3
                                    CERTIFICATE OF SERVICE
 4
 5          I hereby certify that on March 4, 2021, I filed the foregoing with the Clerk of the
 6
     Court using the CM/ECF System, which will send notification of such filing to the
 7
     following:
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12   and I hereby certify that I have mailed by United States Postal Service the document to the

13   following non-CM/ECF participants:
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            None.
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